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Dear Hon. Jill Mazer-Marino,

My name is Michelle Traub and I am writing to share my experience living at Avon Place under
the Avon Place LLC management. To start, I lived at Avon Place for over 10 years. My first 8
years living in Avon Place was amazing. We had a beautiful community with wonderful
management. When there was an issue, maintenance would fix it. The complex was well put
together and we felt safe and lucky to live in such a beautiful place.

Unfortunately, my last two years living at Avon Place was a different experience. When Empire
Realty (Avon Place LLC) took over, the entire community experience changed. At first it started
with just maintenance issues. Our AC was not working and it took weeks to get in touch with the
main office. The pot holes on the road got so bad I lost a hubcap 3 separate times. The lights
that lined the driveway and were lit up for the past 8 years were no longer working and it was
pitch black walking my dog at night. The dog park area that used to be mowed and maintained
was no longer mowed. The front door lock did not work and just anyone random could walk right
into the building. Trash was overflowing so much that the bears would come rip open the bags
that could not fit in the bin and drag them all over the parking lot. The emergency maintenance
line did not work and I spent a whole night bailing out raw sewage from an exploded pipe with a
bucket in my bathroom because I could not reach anyone to fix it or turn off the water. The
clubhouse gym which was always previously maintained was in bad shape and our pool that we
swam in every summer was closed by the Health Department for health code violations for the
whole season and never reopened. These are things that were asked many, many times to be
taken care of and our requests fell on deaf ears.

One of the worst things that happened to us began in the Spring of 2023. During this time, my
entire building lost hot water for 38 days. At first we would lose hot water for a few days. We
would call the main office to let them know and they would tell us that it was “only my unit” when
I was very well aware that it was my entire building. All of my neighbors did not have hot water
either. This was when I started to realize that the management was not being honest. (I find it
important to mention here that I am an elementary school teacher in a local district and I always
give people the benefit of the doubt. I always act out of kindness and consideration and never
would have thought that a professional adult would lie to my face about something like hot
water. I just never considered it. But I was soon to realize that I was wrong).

I remember calling the main office so many times and saying that we still had no hot water and
management would tell me in a very harsh voice “YOU DO HAVE HOT WATER. WE HAVE
SOMEONE IN THE BUILDING RIGHT NOW CHECKING AND IT IS ALL SET”. All while I was
in my apartment, running my hand under ice cold water. I would go to my neighbors and ask
them to check theirs in hopes that maybe it was just me, and they would tell me the same
thing… they also had ice cold water. This happened over and over and over again.
Management would tell us they had “people working on it right now” when no one was in fact
working on it. In fact, I remember one weekend it was very cold out and we still had no hot
water. We called the emergency line and management told us they had the water tank company
out there working all weekend on replacing the hot water heater. They literally said “they are
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putting the new water heater in right now”... when we were all in our apartment building looking
at each other thinking “how are they lying right through their teeth to us?” No one was there at
all that whole weekend. Not one maintenance person, not the water heater company, no one.
And the entire building had ice cold water. This continued for 38 days with no communication
from management, no solutions, no truthful follow-through. I had to get up at 5am to shower at
the gym before school because my Raynaud’s Disease is directly impacted by extreme
temperatures and taking an ice cold shower isn’t an option for my body even if I wanted it to be.
My neighbors were heating up water in pots on the stove to clean her 4 kids before school. And
we were paying thousands of dollars in rent a month without this essential service.

Eventually, I could not go on watching my community suffer like this anymore. I presented at the
Avon Town Hall meetings in hopes that the town could help us get management to take care of
the hot water. I started googling Empire Realty (Avon Place LLCs larger name) and reading the
experiences of the residents of their other buildings and I realized that this was something that
was not new. There were other tenants of other Empire Realty buildings that had very similar
experiences to ours.

During my online research, I came across the CT Tenant Union’s page and saw that tenants
were having luck working with management through coming together as a union… and so, I
started a group called the Avon Place Tenant Union. Although the union was more of a
community gathering space with no charter or positions or meeting minutes, etc., it did become
a space for my neighbors and I to discuss the problems that we were seeing at Avon Place,
particularly in the hot water in Building 44. We decided to contact the Farmington Valley Health
Department and pay our rent into housing court since this essential service was not being met
by management. The second we got the health department involved and threatened to pay our
rent into court, our hot water was fixed. We were very happy to have our hot water back but we
were also very sad that it took going to pay our rent into court to finally get the ball moving.

My story continues a little while after the hot water incident when I get a “non-renewal” lease on
my door. I still can feel that horrendous heart dropping feel I got when I saw that note. The note
said that they would not be renewing my lease and I would have 30 days to leave my
apartment. This was extremely scary for me. I had lived at Avon Place for 8 years. I had
ALWAYS paid my rent on time. I had never been late on a payment for any service. I never had
a complaint against me or my roommate. We had been great members of the community for the
past decade. The only thing that had changed was that I had started the Avon Place Tenant
Union and had been the one to contact the Farmington Valley Health Department. I knew they
wanted me out because I had spoken out against the mismanagement at the Avon Town
meetings. I was so nervous because I could not afford to live anywhere else in Avon but more
importantly, it was my home, with neighbors and friends, and a community I had built for almost
a decade.

Long story short, I contacted a lawyer through CT Fair Housing and they sent a demand letter to
Avon Place LLC stating that Avon Place’s actions were retaliatory in violation of Conn. Gen.
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Stat. § 47a-20 and the Connecticut Unfair Trade Practice Act, Conn. Avon Place LLC dropped
the non-renewal and decided to let me renew my lease another year.

I lived there for one more year.

My story most recently ends with my move-out and trying to get my security deposit back. When
I moved out, my family and I cleaned the apartment so well that we were certain Avon Place
LLC would have to return the security deposit back. I had had so much experience with
management by this time that I knew just getting my security deposit back would be difficult. Not
surprisingly, Avon Place LLC gave me a $4000+ bill of damages that did not exist. I sued them
in housing court and when I was going through the process I still cannot believe the lies that
were told by management. It still baffles me to this day that people could be so dishonest
without a thought. I remember the property manager saying straight faced to the judge (AFTER
SWEARING THE OATH!) that they had to replace all of the carpets from my apartment and they
redid all of the floors which cost them thousands of dollars. This was a boldfaced lie. The day
before I had gone on a walk with my neighbor and looked into my apartment windows and saw
that even a year later, they had still not only not rented my apartment but also did not even enter
my apartment since the day I moved out. The post-it note I had left was still there, the extra
blinds on the floor exactly as I had left them. The carpet had never been replaced. The property
manager had flat out lied to the judge UNDER OATH. I really cannot believe, to this day, how
people like this exist. How they can just say things that are absolutely not true to your face as if
it is the truth. It makes me so sad to think about.

During the mediation of the housing court case, Avon Place LLC told me that I should just let it
go and drop the suit because if I did not they would “come after me for the $4000 in damages”
(which again, were not true). They use bully power and threaten to get their way but I did not
cave. I WON that court case and the judge stated that I should receive not only my entire
security deposit but also additional funds.

Fast forward to 2024 and I finally moved out of my decade-long home in Avon Place in order to
fulfill a dream of traveling the world. I left Avon Place and the Avon Place Tenant Union and
passed on my knowledge to my neighbors and other new residents who I hope will not cave to
the threats and bullying from management. Although I am no longer a resident and member of
the Avon Place Tenant Union, I wanted to share my story on their behalf. I have never before
worked with a company that has acted in more bad faith than Avon Place LLC. I feel for my
neighbors who are still dealing with this mismanagement, their lies and gaslighting, dishonesty,
and general disregard for the people that live there. I especially want to speak out on behalf of
so many of my previous neighbors and now friends who are too scared of retaliation from
management to write their own letter. I sincerely hope you, as the judge, are able to see through
our experiences what kind of management Avon Place LLC really is.

Thank you for your time,

Michelle Traub
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